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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                              CHARLESTON DIVISION

LEWIS STEINBERG,                        )
                                        )                MDL NO: 2873
           Plaintiff                    )                Master Docket No.: 2:18-mn-2873
                                        )
v.                                      )                JUDGE RICHARD GERGEL
                                        )
THE 3M COMPANY, f/k/a MINNESOTA         )                Civil Action No: 2:22-cv-03200-RMG
MINING AND MANUFACTURING CO.,           )
AGC CHEMICALS AMERICAS, INC.,           )                COMPLAINT AND
AMEREX CORP., ARCHROMA US,              )                JURY DEMAND
INC., ARKEMA, INC.,                     )
BASF CORP., BUCKEYE FIRE                )
EQUIPMENT CO., CARRIER GLOBAL           )
CORP., CHEMDESIGN PRODUCTS, INC.,       )
CHEMGUARD, INC., CHEMICALS, INC.,       )
THE CHEMOURS CO., CHEMOURS              )
COMPANY FC, L.L.C., CHUBB FIRE, LTD., )
CLARIANT CORP., CORTEVA, INC.,          )
DEEPWATER CHEMICALS, INC., DU PONT )
DE NEMOURS, INC., DYNAX CORP., E.I. DU )
PONT DE NEMOURS AND COMPANY,            )
KIDDE-FENWAL, INC., KIDDE P.L.C., INC., )
NATION FORD CHEMICAL CO;                )
NATIONAL FOAM, INC.,                    )
TYCO FIRE PRODUCTS, L.P., UNITED        )
TECHNOLOGIES CORP., UTC FIRE &          )
SECURITY AMERICAS CORP.,                )
                                        )
           Defendants.                  )

                                         COMPLAINT

       Plaintiff, Lewis Steinberg ("Plaintiff"), by and through the undersigned counsel, hereby

files this Complaint and alleges upon information and belief, as follows:

                                 NATURE OF THE ACTION

       1.      Aqueous Film Forming Foam (“AFFF ") is a specialized substance designed to

extinguish petroleum-based fires. It has been used for decades, and continues to be used, by



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military firefighters to put out fires and in training and response exercises in preparation for fires.

          2.    AFFF contains synthetic, toxic per- and polyfluoroalkyl substances collectively

 known as “PFAS.” 1 PFAS bind to proteins in the blood of animals and humans exposed to such

 materials and not only remain and persist over long periods of time, but, due to their unique

 chemical structure, accumulate and build up in the blood/body of the exposed individuals with

 each additional exposure, no matter how small. PFAS can travel long distances, move through

 soil, seep into groundwater, or be carried through air.

          3.    Defendants collectively designed, marketed, developed, manufactured, distributed,

released, trained users, produced instructional materials, sold and/or otherwise handled and/or used

AFFF with knowledge that it contained highly toxic and long lasting PFASs, which would

contaminate Plaintiff’s blood and/or body with PFAS, and the resultant biopersistence and

bioaccumulation of such PFAS in the blood and/or body of Plaintiff. Further, defendants designed,

marketed, developed, manufactured, distributed, released, trained users, produced instructional

materials, promoted, sold and/or otherwise handled and/or used underlying chemicals and/or

products added to AFFF which contained PFAS for use in firefighting. Further, defendants

designed, marketed, developed, manufactured, distributed, released, trained users, produced

instructional materials, promoted, sold and/or otherwise handled and/or used underlying chemicals

and/or products added to AFFF which contained PFAS for use in firefighting.


      1
       " PFAS” includes but is not limited to: perfluorooctanoic acid (“PFOA”) and perfluorooctane sulfonic acid
      (“PFOS”) and related chemicals, including but not limited to those that degrade to PFOA and/or PFOS, and
      including but not limited to C3-C-15 PFAS chemicals, such as perfluorohexanesulfonate (PFHxS),
      perfluorononanoate (PFNA), perfluorobutanesulfonate (PFBS), perfluorohexanoate (PFHxA),
      perfluoroheptanoate (PFHpA), perfluoroundecanoate (PFUnA), perfluorododecanoate (PFDoA), HFPA
      Dimer Acid (CAS # 13252 -13- 6/C3 Dimer Acid/P-08-508/FRD903/GX903/C3DA/GenX), and HFPA Dimer
      Acid     Ammonium       Salt    (CAS#62037-80-3/ammonium           salt   of   C3     Dimer    Acid/P-08-
      509/FRD902/GX903/GenX)




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       4.      As a result, Plaintiff was exposed to AFFF containing PFAS and suffered severe

personal injuries as a result.

       5.      This action is brought by Plaintiff for injunctive, equitable, and declaratory relief

for injuries arising from the intentional, knowing, reckless and/or negligent acts and/or omissions

of Defendants in connection with contamination of the blood and/or body of Plaintiff Lewis

Steinberg with PFAS through the design, marketing, development, manufacture, distribution,

release, training, and sale of AFFF containing PFAS and/or underlying chemicals and/or products

added to AFFF which contained PFAS for use in firefighting. This action is also filed pursuant

to 18 U.S.C. § 1961, et seq., and other federal and state laws, for “RICO” violations. Defendants

are part of a widespread criminal enterprise through which they engaged in a pattern of

racketeering activity across state lines, including through and across Florida state lines and

conspired to engage in racketeering activity involving numerous RICO predicate acts during the

past couple of decades, as set forth more fully below.

                                 JURISDICTION AND VENUE

       6.      This Court has jurisdiction pursuant to 28 U.S.C. § 1331, based on Defendants’

violations of federal law, specifically 18 U.S.C. § 1961, et seq. (“Racketeer Influenced and

Corrupt Organizations Act” or “RICO”), 18 U.S.C. § 1965 pertaining to RICO jurisdiction, and

supplemental jurisdiction over the state law claims set forth below pursuant to 28 U.S.C. § 1367,

because those state law claims are so related to Plaintiff’s federal claims that they form part of

the same case or controversy. This Court has jurisdiction over the commencement date of these

actions pursuant to 42 U.S.C. § 9658, in the Superfund Amendments and Reauthorization Act of

1986 amendment to the Comprehensive Environmental Response, Compensation, and Liability

Act ("CERCLA”).



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        7.      Venue is proper in this District pursuant to this Court’s CMO 3. Plaintiff state that

but for the Order permitting direct filing in the United States District Court for the District of South

Carolina, Plaintiff would have filed this Complaint in the United States District Court in the

Southern District of Florida, Palm Beach Division. Further, in accordance with CMO 3, Plaintiff

hereby designate the United States District Court in the Southern District of Florida, Palm Beach

Division as the “Home Venue” as this case may have originally been filed there. Venue is proper

in the United States District Court in the Southern District of Florida, Palm Beach Division

pursuant to 28 U.S.C. § 1391 because it is the judicial district in which Plaintiff is a resident and

citizen, a substantial part of events or omissions giving rise to the claims occurred, and Defendants

conduct business within this district.

                                              PARTIES

       8.      Plaintiff Lewis Steinberg is a resident and citizen of Palm Beach Garden, Palm

Beach County, Florida. Plaintiff brings this action due to personal injuries sustained as a result of

exposure to Defendants' AFFF containing PFAS.

       9.      Defendant, 3M Company, f/k/a Minnesota Mining and Manufacturing Company,

(“3M”), is a Delaware corporation and does business throughout the United States, including

conducting business in Florida. 3M has its principal place of business at 3M Center, St. Paul,

Minnesota 55133.

       10.     3M designed, marketed, developed, manufactured, distributed, released, trained

users, produced instructional materials, promoted, sold and/or otherwise handled and/or used

AFFF containing PFAS that are used in firefighting training and response exercises which are the

subject of this Complaint in such a way as to result in the contamination of Plaintiff’s blood and/or

body with PFAS, and the biopersistence and bioaccumulation of such PFAS in his blood and/or



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body.

         11.   Defendant, AGC Chemicals Americas Inc. Chemicals”), is a Delaware Corporation

and does business through the United States, including conducting business in Florida. AGC

Chemicals has its principal place of business at 55 E. Uwchlan Ave, Ste 201, Exton, Pennsylvania

19341.

         12.   AGC Chemicals, manufactured fluoropolymer chemicals and surfactants for AFFF

manufacturers who designed, marketed, developed, manufactured, distributed, released, trained

users, produced instructional materials, sold and/or otherwise handled and/or used AFFF

containing PFAS that are used in firefighting training and response exercises which are the subject

of this Complaint in such a way as to result in the contamination of Plaintiff’s blood and/or body

with PFAS, and the biopersistence and bioaccumulation of such PFAS in his blood and/or body.

         13.   Defendant, Amerex Corp. (“Amerex”), is an Alabama corporation organized and

existing under the laws of Alabama and does business throughout the United States, including

conducting business in Florida. Amerex has its principal place of business at 7595 Gadsden

Highway, Trussville, AL 35173.

         14.   Amerex designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold and/or otherwise handled and/or designed and

manufactured components of and/or used AFFF containing PFAS that are used in firefighting

training and response exercises which are the subject of this Complaint in such a way as to result

in the contamination of Plaintiff’s blood and/or body with PFAS, and the biopersistence and

bioaccumulation of such PFAS in his blood and/or body.

         15.   Defendant Archroma U.S., Inc. (“Archroma”), is a Delaware corporation and does

business throughout the United States, including conducting business in Florida. Archroma has its



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principal place of business at 4000 Monroe Road, Charlotte, North Carolina 28205.

       16.     Archroma designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold, and/or otherwise handled and/or used AFFF

containing PFAS that are the subject of this Complaint, including in Florida, in such a way as to

result in the contamination of Plaintiff’s blood and/or body with PFAS, and the biopersistence and

bioaccumulation of such PFAS in his blood and/or body.

       17.     Defendant, Arkema, Inc., is a Pennsylvania corporation and does business

throughout the United States, including conducting business in Florida. Arkema, Inc. has its

principal place of business at 900 1st Avenue, King of Prussia, Pennsylvania 19406.

       18.     Arkema, Inc., designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold, and/or otherwise handled and/or used AFFF

containing PFAS that are the subject of this Complaint in such a way as to result in the

contamination of Plaintiff's blood and/or body with PFAS, and the biopersistence and

bioaccumulation of such PFAS in his blood and/or body.

       19.     Defendant, BASF Corporation (“BASF”), is a Delaware corporation doing business

throughout the United States , including conducting business in Florida. BASF Corporation has its

principal place of business at 100 Park Ave., Florham Park, New Jersey 07932.

       20.     BASF is successor-in-interest to Ciba-Geigy Corp. and Ciba Inc., which

manufactured fluorosurfactants for AFFF manufacturers who designed, marketed, developed,

manufactured, distributed, released, trained users, produced instructional materials, sold and/or

otherwise handled and/or used AFFF containing PFAS that are used in firefighting training and

response exercises which are the subject of this Complaint in such a way as to result in the

contamination of Plaintiff’s blood and/or body with PFAS, and the biopersistence and



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bioaccumulation of such PFAS in his blood and/or body.

       21.     Defendant Buckeye Fire Equipment Company (“Buckeye”) is an Ohio corporation

and does business throughout the United States, including conducting business in Florida. Buckeye

has its principal place of business at 110 Kings Road, Mountain, North Carolina 28086.

       22.     Buckeye designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold and/or otherwise handled and/or used AFFF

containing PFAS that are used in firefighting training and response exercises which are the subject

of this Complaint in such a way as to result in the contamination of Plaintiff’s blood and/or body

with PFAS, and the biopersistence and bioaccumulation of such PFAS in his blood and/or body.

       23.     Defendant, Carrier Global Corporation (“Carrier Global”), is a Delaware

corporation and does business throughout the United States, including conducting business in

Florida. Carrier Global Corporation has its principal place of business at 13995 Pasteur Boulevard,

Palm Beach Gardens, Florida 33418.

       24.     Carrier Global Corporation inherited UTC’s Fire & Security businesses, including

the Chubb Fire and Kidde-Fenwall brands, when it was formed in March 2020. Carrier Global

Corporation is the parent corporation of Kidde-Fenwal Inc., a manufacturer of AFFF who

designed, marketed, developed, manufactured, distributed, released, trained users, produced

instructional materials, sold and/or otherwise handled and/or used AFFF containing PFAS that are

used in firefighting training and response exercises which are the subject of this Complaint in such

a way as to result in the contamination of Plaintiff’s blood and/or body with PFAS, and the

biopersistence and bioaccumulation of such PFAS in his blood and/or body.

       25.     Defendant, ChemDesign Products, Inc. (“ChemDesign”), f/k/a “SpecialtyChem

Acquisition Corp.”, is a Texas Corporation that does business throughout the United States,



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including conducting business in Florida. ChemDesign Products, Inc. has its principal place of

business at 2 Stanton St., Marinette, Wisconsin 54143.

       26.     ChemDesign manufactured fluorosurfactants for AFFF manufacturers, Tyco and

Chemguard, who designed, marketed, developed, manufactured, distributed, released, trained

users, produced instructional materials, sold and/or otherwise handled and/or used AFFF

containing PFAS that are used in firefighting training and response exercises which are the subject

of this Complaint in such a way as to result in the contamination of Plaintiff’s blood and/or body

with PFAS, and the biopersistence and bioaccumulation of such PFAS in his blood and/or body.

       27.     Defendant Chemguard, Inc. (“Chemguard”) is a Wisconsin corporation and does

business throughout the United States, including conducting business in Florida. Chemguard has

its principal place of business at One Stanton Street, Marinette, Wisconsin 54143.

       28.     Chemguard designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold and/or otherwise handled and/or used AFFF

containing PFAS that are used in firefighting training and response exercises which are the subject

of this Complaint in such a way as to result in the contamination of Plaintiff’s blood and/or body

with PFAS, and the biopersistence and bioaccumulation of such PFAS in his blood and/or body.

       29.     Defendant, Chemicals, Inc., is a Texas Corporation and does business throughout

the United States, including conducting business in Florida. Chemicals, Inc. has its principal place

of business at 12321 Hatcherville Rd., Baytown, Texas 77521.

       30.     Chemicals, Inc. manufactured fluorochemicals for AFFF manufacturers who

designed, marketed, developed, manufactured, distributed, released, trained users, produced

instructional materials, sold and/or otherwise handled and/or used AFFF containing PFAS that are

used in firefighting training and response exercises which are the subject of this Complaint in such



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a way as to result in the contamination of Plaintiff’s blood and/or body with PFAS, and the

biopersistence and bioaccumulation of such PFAS in his blood and/or body.

         31.   Defendant The Chemours Company (“Chemours”), is a Delaware corporation and

does business throughout the United States, including conducting business in Florida. Chemours

has its principal place of business 1007 Market Street, Wilmington, Delaware 19898.

         32.   Chemours designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold, and/or otherwise handled and/or used AFFF

containing PFAS that are the subject of this Complaint in such a way as to result in the

contamination of Plaintiff’s blood and/or body with PFAS, and the biopersistence and

bioaccumulation of such PFAS in his blood and/or body.

         33.   Defendant Chemours Company FC, LLC (“Chemours FC”), is a Delaware

corporation and does business throughout the United States, including conducting business in

Florida. Chemours has its principal place of business 1007 Market Street, Wilmington, Delaware

19898.

         34.   Chemours FC designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold, and/or otherwise handled and/or used AFFF

containing PFAS that are the subject of this Complaint in such a way as to result in the

contamination of Plaintiff’s blood and/or body with PFAS, and the biopersistence and

bioaccumulation of such PFAS in his blood and/or body.

         35.   Defendant Chubb Fire, Ltd. (“Chubb”) is a foreign private limited company, with

offices at Littleton Road, Ashford, Middlesex, United Kingdom TW15 1TZ. Upon information

and belief, Chubb is registered in the United Kingdom with a registered number of 134210. Upon

information and belief, Chubb is or has been composed of different subsidiaries and/or divisions,



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including but not limited to, Chubb Fire & Security Ltd., Chubb Security, PLC, Red Hawk Fire &

Security, LLC, and/or Chubb National Foam, Inc.

         36.   Chubb Fire designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold, and/or otherwise handled and/or used AFFF

containing PFAS that are the subject of this Complaint in such a way as to result in the

contamination of Plaintiff’s blood and/or body with PFAS, and the biopersistence and

bioaccumulation of such PFAS in his blood and/or body.

         37.   Defendant, Clariant Corporation (“Clariant”), is a New York corporation and does

business throughout the United States, including conducting business in Florida. Clariant

Corporation has its principal place of business at 4000 Monroe Road, Charlotte, North Carolina

28205.

         38.   Clariant was a fluruotelomer manufacturer which produced fluorosurfactants for

AFFF manufacturers that designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold, and/or otherwise handled and/or used AFFF

containing PFAS that are the subject of this Complaint in such a way as to result in the

contamination of Plaintiff’s blood and/or body with PFAS, and the biopersistence and

bioaccumulation of such PFAS in his blood and/or body. Clariant acquired by SK Capital Partners

and became Archroma Management LLC.

         39.   Defendant Corteva, Inc. (“Corteva”) is a Delaware Corporation that conducts

business throughout the United States, including conducting business in Florida. Its principal place

of business is 974 Center Rd, Wilmington, Delaware 19805.

         40.   Corteva designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold, and/or otherwise handled and/or used AFFF



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containing PFAS that are the subject of this Complaint in such a way as to result in the

contamination of Plaintiff’s blood and/or body with PFAS, and the biopersistence and

bioaccumulation of such PFAS in his blood and/or body.

       41.     Defendant, Deepwater Chemicals, Inc., is a Delaware corporation and does

business throughout the United States, including conducting business in Florida. Deepwater

Chemicals, Inc. has its principal place of business at 196122 E County Road 40, Woodward,

Oklahoma 73801.

       42.     Deepwater Chemicals, Inc. manufactured fluorochemicals for AFFF manufacturers

which designed, marketed, developed, manufactured, distributed, released, trained users, produced

instructional materials, sold, and/or otherwise handled and/or used AFFF containing PFAS that

are the subject of this Complaint in such a way as to result in the contamination of Plaintiff’s blood

and/or body with PFAS, and the biopersistence and bioaccumulation of such PFAS in his blood

and/or body.

       43.     Defendant Du Pont de Nemours Inc. (f/k/a DowDuPont, Inc.) (“DowDuPont”), is

a Delaware corporation and does business throughout the United States, including conducting

business in Florida. DowDuPont, has its principal place of business at 974 Centre Road,

Wilmington, Delaware 19805 and 2211 H.H. Dow Way, Midland, Michigan 48674.

       44.     DowDuPont designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold, and/or otherwise handled and/or used AFFF

containing PFAS that are the subject of this Complaint in such a way as to result in the

contamination of Plaintiff’s blood and/or body with PFAS, and the biopersistence and

bioaccumulation of such PFAS in his blood and/or body.

       45.     Defendant E. I. du Pont de Nemours and Company (“DuPont”), is a Delaware



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corporation and does business throughout the United States, including conducting business in

Florida. DuPont has its principal place of business at 1007 Market Street, Wilmington, Delaware

19898.

         46.   DuPont designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold, and/or otherwise handled and/or used AFFF

containing PFAS that are the subject of this Complaint in such a way as to result in the

contamination of Plaintiff’s blood and/or body with PFAS, and the biopersistence and

bioaccumulation of such PFAS in his blood and/or body.

         47.   Defendant Dynax Corporation (“Dynax”) is a Delaware Corporation that conducts

business throughout the United States, including conducting business in Florida. Its principal place

of business is 103 Fairview Park Drive, Elmsford, New York, 10523-1544.

         48.   Dynax designed, marketed, developed, manufactured, distributed, released, trained

users, produced instructional materials, sold, and/or otherwise handled and/or used AFFF

containing PFAS that are the subject of this Complaint in such a way as to result in the

contamination of Plaintiff’s blood and/or body with PFAS, and the biopersistence and

bioaccumulation of such PFAS in his blood and/or body.

         49.   Defendant Kidde-Fenwal, Inc. (“Kidde-Fenwal”) is a corporation organized under

the laws of the State of Delaware and does business throughout the United States, including

conducting business in Florida. Kidde-Fenwal has its principal place of business at One Financial

Plaza, Hartford, Connecticut 06101. Kidde-Fenwal is the successor- in-interest to Kidde Fire

Fighting, Inc. (f/k/a Chubb National Foam, Inc. f/k/a National Foam System, Inc.) (collectively,

“Kidde/Kidde Fire”).

         50.   Kidde-Fenwal designed, marketed, developed, manufactured, distributed, released,



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trained users, produced instructional materials, sold, and/or otherwise handled and/or used AFFF

containing PFAS that are the subject of this Complaint in such a way as to result in the

contamination of Plaintiff’s blood and/or body with PFAS, and the biopersistence and

bioaccumulation of such PFAS in his blood and/or body.

       51.     Defendant Kidde P.L.C., Inc. (“Kidde P.L.C.”) is a Delaware corporation organized

and existing under the laws of the State of Delaware and does business throughout the United

States, including conducting business in Florida. Kidde P.L.C. has its principal place of business

at One Carrier Place, Farmington, Connecticut 06034. Upon information and belief, Kidde PLC

was formerly known as Williams Holdings, Inc. and/or Williams US, Inc.

       52.     Kidde P.L.C. designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold, and/or otherwise handled and/or used AFFF

containing PFAS that are the subject of this Complaint in such a way as to result in the

contamination of Plaintiff’s blood and/or body with PFAS, and the biopersistence and

bioaccumulation of such PFAS in his blood and/or body.

       53.     Defendant, Nation Ford Chemical Company, is a South Carolina corporation and

does business throughout the United States, including conducting business in Florida. Nation Ford

Chemical Company has its principal place of business at 2300 Banks Street, Fort Mill, South

Carolina 29715.

       54.     Nation    Ford    Chemical     Company      manufactured      fluorochemicals     for

fluorosurfactant and/or AFFF manufacturers which designed, marketed, developed, manufactured,

distributed, released, trained users, produced instructional materials, sold, and/or otherwise

handled and/or used AFFF containing PFAS that are the subject of this Complaint in such a way

as to result in the contamination of Plaintiff’s blood and/or body with PFAS, and the biopersistence



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and bioaccumulation of such PFAS in his blood and/or body.

        55.    Defendant National Foam, Inc. (“National Foam”) is a Delaware corporation and

does business throughout the United States, including conducting business in Florida. National

Foam has its principal place of business at 350 East Union Street, West Chester,

Pennsylvania19382.

        56.    National     Foam     designed, marketed, developed, manufactured, distributed,

released, trained users, produced instructional materials, sold and/or otherwise handled and/or used

AFFF containing PFAS that are used in firefighting training and response exercises which are the

subject of this Complaint in such a way as to result in the contamination of Plaintiff’s blood and/or

body with PFAS, and the biopersistence and bioaccumulation of such PFAS in his blood and/or

body.

        57.    Defendant Tyco Fire Products, LP, as successor-in-interest to The Ansul Company

(“Tyco”), is a Delaware limited partnership and does business throughout the United States,

including conducting business in Florida. Tyco has its principal place of business at One Stanton

Street, Marinette, Wisconsin 54143. Tyco manufactured and currently manufactures the Ansul

brand of products, including Ansul brand AFFF containing PFAS.

        58.    Tyco is the successor in interest to the corporation formerly known as The Ansul

Company (“Ansul”). At all times relevant, Tyco/Ansul designed, marketed, developed,

manufactured, distributed released, trained users, produced instructional materials, sold and/or

otherwise handled and/or used AFFF containing PFAS that are used in firefighting training and

response exercises which are the subject of this Complaint in such a way as to result in the

contamination of Plaintiff’s blood and/or body with PFAS, and the biopersistence and

bioaccumulation of such PFAS in his blood and/or body.



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       59.     Defendant United Technologies Corporation (“United Technologies”) is a foreign

corporation organized and existing under the laws of the State of Delaware and does business

throughout the United States, including conducting business in Florida. United Technologies has

its principal place of business at 8 Farm Springs Road, Farmington, Connecticut 06032.

       60.     United Technologies designed, marketed, developed, manufactured, distributed,

released, trained users, produced instructional materials, sold, and/or otherwise handled and/or

used AFFF containing PFAS that are the subject of this Complaint in such a way as to result in the

contamination of Plaintiff’s blood and/or body with PFAS, and the biopersistence and

bioaccumulation of such PFAS in his blood and/or body.

       61.     Defendant UTC Fire & Security Americas Corporation, Inc. (f/k/a GE Interlogix,

Inc.)(“UTC”) is a North Carolina corporation and does business throughout the United States,

including conducting business in Florida. UTC has principal place of business at 3211 Progress

Drive, Lincolnton, North Carolina 28092. Upon information and belief, Kidde-Fenwal, Inc. is part

of the UTC Climate Control & Security unit of United Technologies Corporation.

       62.     UTC designed, marketed, developed, manufactured, distributed, released, trained

users, produced instructional materials, sold, and/or otherwise handled and/or used AFFF

containing PFAS that are the subject of this Complaint in such a way as to result in the

contamination of Plaintiff’s blood and/or body with PFAS, and the biopersistence and

bioaccumulation of such PFAS in his blood and/or body.

       63.     When reference is made in this Complaint to any act or omission of any of the

Defendants, it shall be deemed that the officers, directors, agents, employees, or representatives of

the Defendants committed or authorized such act or omission, or failed to adequately supervise or

properly control or direct their employees while engaged in the management, direction, operation,



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or control of the affairs of Defendants, and did so while acting within the scope of their duties,

employment or agency.

       64.     The term “Defendant” or “Defendants” refers to all Defendants named herein

jointly and severally.


                           GENERAL FACTUAL ALLEGATIONS

     65.       While Defendants may operate seemingly legitimate businesses, the facts alleged

herein establish that these businesses conducted decades of concerted activities for illegal

purposes in violation of federal RICO statutes and other federal and state laws. The pattern of

illegal activities committed by Defendants, described herein and discussed below, were done for

the purpose of financial gain and were done continuously over numerous years and continue to

this day. By the acts alleged herein, Defendants, jointly and severally, aided, abetted, and

conspired to violate RICO and other laws through their ongoing criminal enterprise.

       66.     AFFF is a mixture of chemicals, including PFAS, used to put out petroleum- based

fuel and other flammable liquid fires. AFFF lowers surface tension of the fuel, which starves a fire

of its oxygen supply. While the fluorinated compounds in AFFF work well to extinguish fires, they

are not biodegradable. These toxic chemicals accumulate and contaminate the bodies of animals

and humans who come in contact with or consume them.

       67.     Defendants designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold, and/or otherwise handled AFFF containing

toxic PFAS and/ or underlying chemicals and/or products added to AFFF for use in firefighting

that were used at fire departments, airports, air force bases and naval bases around the country.

       68.     Defendants have each designed, marketed, developed, distributed, sold,

manufactured, released, trained users on, produced instructional materials for, and/or otherwise


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handled and/or used AFFF containing PFAS, and/or underlying chemicals and/or products added

to AFFF which contained PFAS for use in firefighting in such a way as to cause the contamination

of Plaintiff’s blood and/or body with PFAS, and the resultant biopersistence and bioaccumulation

of such PFAS in the blood and/or body of Plaintiff.

       69.     Prior to commercial development and large-scale manufacture and use of AFFF

containing PFAS, no such PFAS had been found, detected, or were present in human blood.

       70.     By at least the end of the 1960s, animal toxicity testing performed by Defendants

manufacturing and/or using PFAS indicated that exposure to such materials, including at least

PFOA, resulted in various adverse health effects among multiple species of laboratory animals,

including toxic effects to the liver, testes, adrenals, and other organs and bodily systems.

       71.     By at least the end of the 1960s, additional research and testing performed by

Defendants manufacturing and/or using PFAS indicated that such materials, including at least

PFOA, because of their unique chemical structure, were resistant to environmental degradation

and would persist in the environment essentially unaltered if allowed to enter the environment.

       72.     By at least the end of the 1970s, additional research and testing performed by

Defendants manufacturing and/or using PFAS indicated that one or more such materials, including

at least PFOA and PFOS, because of their unique chemical structure, would bind to proteins in the

blood of animals and humans exposed to such materials where such materials would not only

remain and persist over long periods of time but would accumulate and build up in the blood/body

of the exposed individuals with each additional exposure, no matter how small.

       73.     Defendants manufacturing and/or using AFFF containing PFAS released such

PFAS into the environment during, as a result of, or in connection with their manufacturing and

other commercial operations, including into the air, surface waters, ground water, soils, landfills,



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and/or through their involvement and/or participation in the creation of consumer or other

commercial products and materials and related training and response and instructional materials

and activities that Defendants knew, foresaw, and/or reasonably should have known and/or

foreseen would expose Plaintiff to such PFAS.

       74.     By at least the end of the 1970s, Defendants manufacturing and/or using PFAS,

including at least DuPont and 3M, were aware that PFAS, including at least PFOA and PFOS, had

been detected not only in the blood of workers at PFAS manufacturing facilities, but in the blood

of the general population of the United States in people not known to be working at or living near

PFAS manufacturing and/or use facilities, indicating to such Defendants that continued

manufacture and use of such PFAS materials would inevitably result in continued and increased

levels of PFAS getting into the environment and into human blood across the United States,

even in areas nowhere near or associated with specific PFAS manufacturing or use facilities.

       75.     By at least the end of the 1980s, additional research and testing performed by

Defendants manufacturing and/or using PFAS indicated that at least one such PFAS, PFOA, had

caused Leydig cell (testicular) tumors in a chronic cancer study in rats, resulting in at least one

such Defendant, DuPont, classifying such PFAS internally as a confirmed animal carcinogen and

possible human carcinogen.

       76.     It was understood by Defendants by at least the end of the 1980s that a chemical

that caused cancer in animal studies must be presumed to present a cancer risk to humans, unless

the precise mechanism of action by which the tumors were caused was known and it was known

that such mechanism of action would not be operative and/or occur in humans.

       77.     By at least the end of the 1980s, scientists had not determined the precise

mechanism of action by which any PFAS caused tumors and thus prevailing scientific principles



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of carcinogenesis classification mandated that Defendants presume any such PFAS material that

caused tumors in animal studies could present a potential cancer risk to exposed humans.

       78.     By at least the end of the 1980s, additional research and testing performed by

Defendants manufacturing and/or using PFAS, including at least DuPont, indicated that elevated

incidence of certain cancers and other adverse health effects, including elevated liver enzymes and

birth defects, had been observed among workers exposed to such materials, including at least

PFOA, but such data was not published, provided to governmental entities as required by law, or

otherwise publicly disclosed at the time.

       79.     By at least the end of the 1980s, Defendants, including at least 3M and DuPont,

understood that, not only did these PFAS, including at least PFOA and PFOS, get into and persist

and accumulate in human blood and in the human body, but that once in the human body and

blood, particularly the longer-chain PFAS, such as PFOS and PFOA, had a long half-life, meaning

that they would take a very long time (years) before even half of the material would start to be

eliminated (assuming no further exposures), which allowed increasing levels of the chemicals to

build up and accumulate in the blood and/or body of exposed individuals over time, particularly if

any level of exposures continued.

       80.     By at least the end of the 1990s, additional research and testing performed by

Defendants manufacturing and/or using PFAS, including at least 3M and DuPont, indicated that

at least one such PFAS, PFOA, had caused a triad of tumors (Leydig cell (testicular), liver, and

pancreatic) in a second chronic cancer study in rats.

       81.     By at least the end of the 1990s, the precise mechanism(s) of action by which any

PFAS caused each of the tumors found in animal studies had still not been identified, mandating

that Defendants continue to presume that any such PFAS that caused such tumors in animal studies



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could present a potential cancer risk to exposed humans.

       82.     By at least 2010, additional research and testing performed by Defendants

manufacturing and/or using PFAS, including at least 3M and DuPont, revealed multiple potential

adverse health impacts among workers exposed to such PFAS, including at least PFOA, such as

increased cancer incidence, hormone changes, lipid changes, and thyroid and liver impacts, which

such Defendants’ own scientists, lawyers, and advisors recommended be studied further to assess

the extent to which PFAS exposures were causing those effects.

       83.     When the United States Environmental Protection Agency (“USEPA”) and other

state and local public health agencies and officials first began learning of PFAS exposures in the

United States and potential associated adverse health effects, Defendants repeatedly assured and

represented to such entities and the public that such exposures presented no risk of harm and were

of no legal, toxicological, or medical significance of any kind.

       84.     After USEPA and other entities began asking Defendants to stop manufacturing

and/or using certain PFAS, Defendants began manufacturing and/or using and/or began making

and/or using more of certain other and/or “new” PFAS, including PFAS materials with six or fewer

carbons, such as GenX (collectively “Short-Chain PFAS”).

       85.     Defendants manufacturing and/or using Short-Chain PFAS, including at least

DuPont and 3M, are aware that one or more such Short-Chain PFAS materials also have been

found in human blood.

       86.     By at least the mid-2010s, Defendants, including at least DuPont and Chemours,

were aware that at least one Short-Chain PFAS had been found to cause the same triad of tumors

(Leydig (testicular), liver, and pancreatic) in a chronic rat cancer study as had been found in a

chronic rat cancer study with a non-Short-Chain PFAS.



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       87.      As of today’s date, the precise mechanism(s) of action by which any PFAS causes

each of the tumors found in animal studies has(ve) not been identified, mandating that Defendants

presume that any such PFAS that caused such tumors in animal studies be presumed to present a

potential cancer risk to exposed humans.

       88.      Research and testing performed by and/or on behalf of Defendants making and/or

using Short-Chain PFAS indicates that such Short-Chain PFAS materials present the same, similar,

and/or additional risks to human health as had been found in research on other PFAS materials,

including cancer risk.

       89.      Nevertheless, Defendants repeatedly assured and represented to governmental

entities and the public (and continue to do so) that the presence of PFAS, including these Short-

Chain PFAS, in human blood at the levels found within the United States presents no risk of harm

and is of no legal, toxicological, or medical significance of any kind.

       90.      As of today’s date, Defendants, through their membership in the FluoroCouncil,

represent to the public through the FluoroCouncil website that: “The newer, short-chain

chemistries currently in use are well studied [and] … [t]he science supports the conclusion that the

newer FluoroTechnology is not expected to present a significant risk to humans and the

environment.”

       91.      At all relevant times, Defendants, individually and/or collectively, have had the

resources and ability but have intentionally, purposefully, recklessly, and/or negligently chosen

not to fund or sponsor any study, investigation, testing, and/or other research of any kind of the

nature Defendants claim is necessary to confirm and/or prove that the presence of any one and/or

combination of PFAS in human blood causes any disease and/or adverse health impact of any kind

in humans, presents any risk of harm to humans, and/or is of any legal, toxicological, or medical



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significance to humans, according to standards Defendants deem acceptable.

        92.     Even after an independent science panel, known as the “C8 Science Panel,”

publicly announced in the 2010s that human exposure to 0.05 parts per billion or more of one

PFAS, PFOA, in drinking water for one year or more had “probable links” with certain human

diseases, including kidney cancer, testicular cancer, ulcerative colitis, thyroid disease,

preeclampsia, and medically-diagnosed high cholesterol, Defendants repeatedly assured and

represented to governmental entities, their customers, and the public (and continue to do so) that

the presence of PFAS in human blood at the levels found within the United States presents no risk

of harm and is of no legal, toxicological, or medical significance of any kind, and have represented

to and assured such governmental entities, their customers, and the public (and continue to do so)

that the work of the independent C8 Science Panel was inadequate to satisfy the standards of

Defendants to prove such adverse effects upon and/or any risk to humans with respect to PFAS in

human blood.

        93.     At all relevant times, Defendants shared and/or should have shared among

themselves all relevant information relating to the presence, biopersistence, and bioaccumulation

of PFAS in human blood and associated toxicological, epidemiological, and/or other adverse

effects and/or risks.

        94.     As of the present date, blood serum testing and analysis by Defendants, independent

scientific researchers, and/or government entities has confirmed that PFAS materials are clinically

demonstrably present in approximately 99% of the current population of the United States.

        95.     There is no naturally-occurring “background,” normal, and/or acceptable level or

rate of any PFAS in human blood, as all PFAS detected and/or present in human blood is present

and/or detectable in such blood as a direct and proximate result of the acts and/or omissions of



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Defendants.

       96.     Data exists to indicate that the presence, accumulation, toxic invasion, and/or

persistence of PFAS in human blood, including that of Plaintiff, is injurious and physically harmful

and results in unwanted, unconsented-to, and deleterious alterations, changes, and/or other

presently-existing physical injury and/or adverse impacts to the blood and/or body of Plaintiff,

including but not limited to subcellular injuries, including but not limited to biopersistence and

bioaccumulation within the body.

       97.     At all relevant times, Defendants, through their acts and/or omissions, controlled,

minimized, trivialized, manipulated, and/or otherwise influenced the information that was

published in peer-review journals, released by any governmental entity, and/or otherwise made

available to the public relating to PFAS in human blood and any alleged adverse impacts and/or

risks associated therewith, effectively preventing Plaintiff from discovering the existence and

extent of any injuries/harm as alleged herein.

       98.     At all relevant times, Defendants, through their acts and/or omissions, took steps to

attack, challenge, discredit, and/or otherwise undermine any scientific studies, findings,

statements, and/or other information that proposed, alleged, suggested, or even implied any

potential adverse health effects or risks and/or any other fact of any legal, toxicological, or medical

significance associated with the presence of PFAS in human blood.

       99.     At all relevant times, Defendants, through their acts and/or omissions, concealed

and/or withheld information from their customers, governmental entities, and the public that would

have properly and fully alerted Plaintiff to the legal, toxicological, medical, or other significance

and/or risk from having any PFAS material in his blood.

       100.    At all relevant times, Defendants encouraged the continued and even further



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increased use and release into the environment of PFAS by their customers and others, including

but not limited to through manufacture, use, and release, of AFFF containing PFAS and/or

emergency responder protection gear or equipment coated with materials made with or containing

PFAS, and tried to encourage and foster the increased and further use of PFAS in connection with

as many products/uses/and applications as possible, despite knowledge of the toxicity, persistence,

and bioaccumulation concerns associated with such activities.

       101.     Once governmental entities and regulators began learning of the potential toxicity,

persistence, and bioaccumulation concerns associated with PFAS, Defendants cited to the

pervasive use of such PFAS throughout numerous sectors of the American economy (which they

had intentionally and purposefully encouraged and created) and the widespread presence of PFAS

in blood of Americans (which they also had negligently, recklessly, and/or intentionally caused)

as an excuse and/or reason not to restrict or regulate PFAS, essentially arguing that the issues

associated with PFAS had become “too big to regulate.”

       102.     To this day, Defendants deny that the presence of any PFAS in human blood, at any

level, is an injury or presents any harm or risk of harm of any kind, or is otherwise of any legal,

toxicological, or medical significance.

       103.     To this day, Defendants deny that any scientific study, research, testing, or other

work of any kind has been performed that is sufficient to suggest to the public that the presence of

any PFAS material in human blood, at any level, is of any legal, toxicological, medical, or other

significance.

       104.     Defendants, to this day, affirmatively assert and represent to governmental entities,

their customers, and the public that there is no evidence that any of the PFAS found in human

blood across the United States causes any health impacts or is sufficient to generate an increased



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risk of future disease sufficient to warrant diagnostic medical testing, often referring to existing

studies or data as including too few participants or too few cases or incidents of disease to draw

any scientifically credible or statistically significant conclusions.

        105.    Defendants, to this day, use and rely upon what they claim is this same “lack of

definitive evidence of causation” as between any PFAS and any adverse human health effect to

oppose and try to discourage regulatory and/or legislative efforts to limit, restrict, and/or address

PFAS impacts to the environment or human health, and to oppose, reject, and deny claims that

PFAS has caused any injury or increased the risk of any adverse human health effects.

        106.    Yet, to this day, Defendants knowingly, willfully, purposefully, intentionally,

recklessly, and/or negligently refuse to fund or conduct any scientific study, research, testing,

and/or other work of any kind that is extensive or comprehensive enough, according to Defendants,

to generate results that Defendants will accept (outside the context of an existing written settlement

agreement such as DuPont entered with respect to certain PFOA exposures, which created the C8

Science Panel) as sufficient to confirm a causal connection between any single or combination of

PFAS in human blood and any injury, human disease, adverse human health impact, and/or a risk

sufficient to warrant any personal injury compensation or future diagnostic medical testing,

including medical monitoring.

        107.    Defendants were and/or should have been aware, knew and/or should have known,

and/or foresaw or should have foreseen that their marketing, development, manufacture,

distribution, release, training and response of users, production of instructional materials, sale

and/or other handling and/or use of AFFF containing PFAS, and/or products added to AFFF which

contained PFAS for use in firefighting would result in the contamination of the blood and/or body

of Plaintiff with PFAS, and the biopersistence and bioaccumulation of such PFAS in his blood



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and/or body.

        108.   Defendants were and /or should have been aware, or knew and/or should have

known, and/or foresaw or should have foreseen that allowing PFAS to contaminate the blood

and/or body of Plaintiff would cause injury, irreparable harm, and/or unacceptable risk of such

injury and/or irreparable harm to Plaintiff.

        109.   Defendants did not seek or obtain permission or consent from Plaintiff before

engaging in such acts and/or omissions that caused, allowed, and/or otherwise resulted in

Plaintiff’s exposure to AFFF and the contamination of Plaintiff’s blood and/or body with PFAS

materials, and resulting biopersistence and bioaccumulation of such PFAS in his blood and/or

body.

                PLAINTIFF LEWIS STEINBERG'S EXPOSURE TO AFFF

        110.   For decades, AFFF containing PFAS has been used in firefighter training and

response exercises at airports, military bases and fire departments across the country, including

Setauket Fire Department in East Setauket, New York. The AFFF containing PFAS, which was

designed, manufactured, marketed, distributed and/or sold by Defendants, was expected to, and

did, reach Setauket Fire Department in East Setauket, New York, without substantial change in

the condition in which it was sold.

        111.   The descriptive labels and data sheets for the AFFF containing PFAS utilized at

Setauket Fire Department in East Setauket, New York, did not reasonably nor adequately describe

the hazards of AFF containing PFAS. Defendants knew or should have known of these hazards

when the product was distributed. Defendants manufactured, designed, marketed, distributed,

and/or sold the AFFF knowing that the PFAS contained in the AFFF presented an unreasonable

risk to human health and are inherently dangerous.



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       112.    Plaintiff Lewis Steinberg has worked as a firefighter for Setauket Fire Department

in East Setauket, New York from approximately 1973 to 1993. During this time, he used AFFF

containing PFAS in firefighting training and response exercises, and used equipment/gear treated

and/or coated with materials containing and/or contaminated with one or more PFAS. Plaintiff

Lewis Steinberg was exposed to AFFF containing PFAS numerous times over the course of his

career, and now has one or more PFAS materials in his blood serum.

       113.    In approximately 1991, Plaintiff Lewis Steinberg was diagnosed with testicular

cancer. Plaintiff suffered, and continues to suffer, the effects attendant thereto, as a direct and

proximate result of the unreasonably dangerous and defective nature of Defendant’s wrongful and

negligent conduct in the design, engineering, manufacture, development, fabrication, testing,

release, training and response of users, production of informational materials, handling, selling,

use, and/or distribution of AFFF containing PFAS and/or underlying chemicals and/or products

added to AFFF which contained PFAS for use in firefighting.

       114.    As detailed above and below, Defendant manufacturers of AFFF, and/or

underlying chemicals and/or products added to AFFF which contained PFAS for use in

firefighting, through their officers, directors, partners, and/or managing agents had actual

knowledge that the products were defective in the manner alleged above and took affirmative steps

to conceal the defects.

                                    CAUSES OF ACTION

                                          COUNT I
              Violation of Racketeer Influenced and Corrupt Organizations Act
                             Pursuant to 18 U.S.C. § 1961, et seq

     115.      Plaintiff hereby incorporates by reference the allegations contained in the

preceding paragraphs of this Complaint as if restated in full herein.



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     116.      Through Defendants’ actions and inactions, including but not limited to RICO

violations and/or breaches of the statutes, regulations, and duties described herein, Defendants

have maintained, directly and/or indirectly, an interest in or control of a RICO enterprise of

individuals and/or organizations who were associated in fact and who did engage in, and whose

activities did affect, interstate and foreign commerce, all in violation of 18 U.S.C. § 1961, et seq.

     117.      Defendants did cooperate jointly and severally in the commission of two (2) or

more of the RICO predicate acts described herein and that are itemized in the RICO laws, and

they did so in violation of the RICO law at 18 U.S.C. 1962(b). During this time, Defendants also

associated with a RICO enterprise of individuals who were associated in fact and who engaged

in, and whose activities did affect, interstate and foreign commerce.

     118.      Likewise, Defendants did conduct and/or participate, either directly or indirectly,

in the conduct of the affairs of said aforementioned RICO enterprise through a pattern of

racketeering activity, all in violation of 18 U.S.C. § 1961, et seq.

     119.      Plaintiff further allege that all Defendants did commit two (2) or more of the

offenses itemized herein in a manner which they calculated and premeditated intentionally to

threaten continuity, i.e., a continuing threat of their respective racketeering activities, also in

violation of the RICO law at 18 U.S.C. § 1962(c) et seq.

                                             COUNT II
                                             Negligence

       120.    Plaintiff hereby incorporates by reference the allegations contained in the preceding

paragraphs of this Complaint as if restated in full herein.

       121.    Defendants had a duty to exercise reasonable care in their design, engineering,

manufacture, development, fabrication, testing, release, training and response of users, production

of informational materials, handling, selling, use, and/or distribution of the inherently


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dangerous AFFF containing PFAS, including a duty of care to ensure that PFAS did not

infiltrate, persist in, and accumulate in the blood and/or body of Plaintiff.

       122.    Defendants owed a duty of care towards Plaintiff that was commensurate with the

inherently dangerous, harmful, injurious, bio-persistent, environmentally-persistent, toxic, and

bio-accumulative nature of PFAS.

       123.    Defendants failed to exercise ordinary care by acts and/or omissions that permitted,

allowed, and/or otherwise resulted in the contamination of, persistence in, and accumulation in the

blood and/or body of Plaintiff with one or more PFAS, including all such acts and/or omissions

referenced in this Complaint, resulting in Plaintiff having one or more PFAS in his blood.

       124.    Defendants knew, foresaw, anticipated, and/or should have foreseen, anticipated,

and/or known that the design, engineering, manufacture, fabrication, sale, release, training and

response of users, production of informational materials, handling, use, and/or distribution of

AFFF containing PFAS and/or other acts and/or omissions as described in this Complaint could

likely result in the contamination of the blood and/or body of Plaintiff and its persistence and

accumulation in his blood and/or body.

       125.    Despite knowing, anticipating, and/or foreseeing the bio-persistent, bio-

accumulative, toxic, and/or otherwise harmful and/or injurious nature of AFFF containing PFAS,

Defendants, their agents, servants, and/or employees, committed negligent acts and/or omissions

that resulted in the contamination of the blood and/or body of Plaintiff with one or more PFAS

materials, and the biopersistence and bioaccumulation of such PFAS in his blood and/or body.

       126.    Defendants, through their acts and/or omissions as described in this Complaint,

breached their duty to Plaintiff.

       127.    It was reasonably foreseeable to Defendants that Plaintiff would likely suffer the



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injuries and harm described in this Complaint by virtue of Defendants’ breach of their duty and

failure to exercise ordinary care, as described herein.

       128.    But for Defendants’ negligent and/ or gross negligent acts and/or omissions,

Plaintiff would not have been injured or harmed.

       129.    Defendants’ negligent conduct was the direct and proximate cause of the injuries

and harm to Plaintiff, as described herein.

                                              COUNT III
                                               Battery

       130.    Plaintiff hereby incorporates by reference the allegations contained in the preceding

paragraphs of this Complaint as if restated in full herein.

       131.    At all relevant times, Defendants possessed knowledge that the AFFF containing

PFAS which they designed, engineered, manufactured, fabricated, sold, handled, released, trained

users on, produced instructional materials for, used, and/or distributed were bio-persistent, bio-

accumulative, toxic, potentially carcinogenic, and/or otherwise harmful/injurious and that their

continued manufacture, use, sale, handling, release, and distribution would result in Plaintiff

having PFAS in his blood, and the biopersistence and bioaccumulation of such PFAS in his blood.

       132.    However,     despite   possessing      such    knowledge,   Defendants   knowingly,

purposefully, and/or intentionally continued to engage in such acts and/or omissions, including but

not limited to all such acts and/or omissions described in this Complaint, that continued to result

in Plaintiff accumulating PFAS in his blood and/or body, and such PFAS persisting and

accumulating in his blood and/or body.

       133.    Defendants did not seek or obtain permission or consent from Plaintiff to put or

allow PFAS materials into his blood and/or body, or to persist in and/or accumulate in his blood

and/or body.


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       134.    Entry into, persistence in, and accumulation of such PFAS in Plaintiff’s body and/or

blood without permission or consent is an unlawful and harmful and/or offensive physical invasion

and/or contact with Plaintiff’s persons and unreasonably interferes with Plaintiff’s rightful use and

possession of Plaintiff’s blood and/or body.

       135.    At all relevant times, the PFAS present in the blood of Plaintiff originated from

Defendants’ acts and/or omissions.

       136.    Defendants continue to knowingly, intentionally, and/or purposefully engage in

acts and/or omissions that result in the unlawful and unconsented-to physical invasion and/or

contact with Plaintiff that results in persisting and accumulating levels of PFAS in his blood.

       137.    Plaintiff, and any reasonable person, finds the contact at issue harmful and/or

offensive.

       138.    Defendants acted intentionally with the knowledge and/or belief that the contact,

presence and/or invasion of PFAS with, onto and/or into Plaintiff’s blood serum, including its

persistence and accumulation in such serum, was substantially certain to result from those very

acts and/or omissions.

       139.    Defendants’ intentional acts and/or omissions resulted directly and/or indirectly in

harmful contact with Plaintiff’s blood and/or body.

       140.    The continued presence, persistence, and accumulation of PFAS in the blood and/or

body of Plaintiff is offensive, unreasonable, and/or harmful, and thereby constitutes a battery.

       141.    The presence of PFAS in the blood and/or body of Plaintiff has altered the structure

and/or function of such blood and/or body parts and resulted in cancer.

       142.    As a direct and proximate result of the foregoing acts and omissions, Plaintiff

suffered and continues to suffer physical injury for which Defendants are therefore liable.



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                                           COUNT IV
                                       Inadequate Warning

       143.    Plaintiff hereby incorporates by reference the allegations contained in the preceding

paragraphs of this Complaint as if restated in full herein.

       144.    Defendants knew or should have known: (a) exposure to AFFF containing PFAS

was hazardous to the environment and to human health; (b) the manner in which they were

deigning, manufacturing, marketing, distributing, and selling AFFF containing PFAS was

hazardous to human health; and (c) the manner in which they were manufacturing, marketing,

distributing, and selling AFFF containing PFAS would result in the contamination of Plaintiff's

blood and/or body as a result of exposure.

       145.    Defendants had a duty to warn of the hazards associated with AFFF containing

PFAS entering and poisoning the blood and/or body of Plaintiff because they knew of the

dangerous, hazardous, toxic, and poisonous properties of AFFF containing PFAS. Defendants

failed to provide sufficient warning to purchasers that the use of their AFFF products would cause

PFAS to be released into Plaintiff and and cause the exposure and bioaccumulation of these toxic

and poisonous chemicals in the blood and/or body of Plaintiff.

       146.    Adequate instructions and warnings on the AFFF containing PFAS could have

reduced or avoided these foreseeable risks of harm and injury to Plaintiff. If Defendants provided

adequate warnings: (a) Plaintiff could have and would have taken measures to avoid or lessen his

exposure; and (b) end users and governments could have taken steps to reduce or prevent the

release of PFASs into the blood and/or body of Plaintiff. Defendants’ failure to warn was a direct

and proximate cause of Plaintiff's injuries from PFAS that came from the use, storage, and disposal

of AFFF containing PFAS. Crucially, Defendants’ failure to provide adequate and sufficient

warnings for the AFFF containing PFAS they manufactured, designed, marketed, distributed, and

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sold renders the AFFF a defective product.

       147.    Defendants were negligent in their failure to provide Plaintiff with adequate

warnings or instruction that the use of their AFFF products would cause PFAS to be released into

the blood and.or body of Plaintiff. As a result of Defendants’ conduct and the resulting

contamination, Plaintiff has suffered, and continues to suffer, sever personal injuries by exposure

to AFFF containing PFAS.

       148.      Defendants’ negligent failure to warn directly and proximately caused the harm

to and damages suffered by Plaintiff.

                                           COUNT V
                                          Design Defect

       149.    Plaintiff hereby incorporates by reference the allegations contained in the

preceding paragraphs of this Complaint as if restated in full herein.

       150.    Defendants knew or should have known: (a) exposure to AFFF containing PFAS is

hazardous to human health; (b) the manner in which AFFF containing PFAS was designed,

manufactured, marketed, distributed, and sold was hazardous to human health; and (c) the manner

in which AFFF containing PFAS was designed, manufactured, marketed, distributed, and could

and would release PFAS into Plaintiff and cause the exposure and bioaccumulation of these toxic

and poisonous chemicals in the blood and/or body of Plaintiff.

       151.     Knowing of the dangerous and hazardous properties of the AFFF containing

PFAS, Defendants could have designed, manufactured, marketed, distributed, and sold alternative

designs or formulations of AFFF that did not contain hazardous, toxic, and poisonous PFAS. These

alternative designs and formulations were already available, practical, and technologically feasible.

The use of these alternative designs would have reduced or prevented the reasonably foreseeable

harm to Plainitff caused by the Defendants’ manufacture, marketing, distribution, and sale of AFFF

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containing hazardous, toxic, and poisonous PFAS.

          152.   The AFFF containing PFAS that was designed, manufactured, marketed,

distributed, and sold by the Defendants was so hazardous, toxic, poisonous, and dangerous to

human health that the act of designing, formulating, manufacturing, marketing, distributing, and

selling this AFFF was unreasonably dangerous under the circumstances.

          153.   The AFFF designed, formulated, manufactured, marketed, distributed, and sold by

Defendants was defectively designed and the foreseeable risk of harm could and would have been

reduced or eliminated by the adoption of a reasonable alternative design that was not unreasonably

dangerous. Defendants’ defective design and formulation of AFFF containing PFAS was a direct

and proximate cause of the contamination of the blood and/or body of Plaintiff and the persistence

and accumulation of PFAS in his blood and/or body.

          154.   Defendants’ defective design and formulation of AFFF containing PFAS caused the

contamination described herein resulting in a personal injuries to Plaintiff. As a direct result of the

harm and injury caused by Defendants’ defective design and the contamination described herein,

Plaintiff has been exposed to AFFF containing PFAS and other toxic substances and has developed

cancer.

          155.   Defendants’ negligent failure to design a reasonably safe product directly and

proximately caused the harm to and damages suffered by Plaintiff.

                                            COUNT VI
                                    Strict Liability (Statutory)

          156.   Plaintiff hereby incorporates by reference the allegations contained in the

preceding paragraphs

          157. Plaintiff asserts any and all remedies available under statutory causes of action

from Plaintiff’s state for strict liability against each Defendant.

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         158. Defendants were engaged in designing, manufacturing, marketing, selling, and

distribution of AFFF.

         159. AFFF was in a defective condition and unreasonably dangerous to users and/or

consumers when designed, manufactured, marketed, sold, and/or distributed to the public by

Defendants.

         160. As a direct and proximate result of Defendants products’ aforementioned defects,

Plaintiff has been injured, sustained severe and permanent pain, suffering, disability, impairment,

loss of enjoyment of life, loss of care, comfort, economic loss and damages including, but not

limited to medical expenses, lost income, and other damages.

             161. Defendants are strictly liable in tort to the Plaintiff for their wrongful conduct.

                                              COUNT VII
                                     Strict Liability (Restatement)

         162. Plaintiff hereby incorporates by reference the allegations contained in the

preceding paragraphs of this Complaint as if restated in full herein.

         163. Plaintiff brings strict product liability claims under the common law, Section

402A of the Restatement of Torts (Second), and/or Restatement of Torts (Third) against

Defendants.

         164. As designed, manufactured, marketed, tested, assembled, equipped, distributed

and/or sold by Defendants the AFFF product was in a defective and unreasonably dangerous

condition when put to reasonably anticipated use to foreseeable consumers and users, including

Plaintiff.

         165. Defendants had available reasonable alternative designs which would have made

the AFFF product safer and would have most likely prevented the injuries and damages to

Plaintiff, thus violating state law and the Restatement of Torts.

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        166. Defendants failed to properly and adequately warn and instruct Plaintiff as to the

proper safety and use of the Defendants product.

        167. Defendants failed to properly and adequately warn and instruct Plaintiff regarding

the inadequate research and testing of the product.

        168. Defendants’ products are inherently dangerous and defective, unfit and unsafe for

their intended and reasonably foreseeable uses, and do not meet or perform to the expectations.

        169. As a proximate result of Defendants’ design, manufacture, marketing, sale, and

distribution of the products, Plaintiff has been injured and sustained severe and permanent pain,

suffering, disability, impairment, loss of enjoyment of life, and economic damages.

        170. By reason of the foregoing, Defendants are strictly liable for the injuries and

damages suffered by Plaintiff, caused by these defects in the AFFF product.

                                         COUNT VIII
                                    Fraudulent Concealment

        171. Plaintiff hereby incorporates by reference the allegations contained in the

preceding paragraphs s of this Complaint as if restated in full herein.

        172.    Throughout the relevant time period, Defendants knew that their products were

defective and unreasonably unsafe for their intended purpose.

        173. Defendants fraudulently concealed from and/or failed to disclose to or warn

Plaintiff and the public that their products were defective, unsafe, and unfit for the purposes

intended, and that they were not of merchantable quality.

        174. Defendants were under a duty to the Plaintiff and the public to disclose and warn

of the defective and harmful nature of the products because:

        a) Defendants were in a superior position to know the true quality, safety and efficacy
           of Defendants’ products;


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          b) Defendants knowingly made false claims about the safety and quality of the
             Defendants’ product in documents and marketing materials; and

          c) Defendants fraudulently and affirmatively concealed the defective nature of
             Defendants’ products from Plaintiff.

          175. The facts concealed and/or not disclosed by Defendants to Plaintiff were material

facts that a reasonable person would have considered to be important in deciding whether or not

to purchase and/or use Defendants’ products.

          176. Defendants intentionally concealed and/or failed to disclose the true defective

nature of the products so that the Plaintiff would use Defendants’ products, the Plaintiff justifiably

acted or relied upon, to Plaintiff’s detriment, the concealed and/or non-disclosed facts as

evidenced by Plaintiff’s use of Defendants’ products.

          177. Defendants, by concealment or other action, intentionally prevented Plaintiff from

acquiring material information regarding the lack of safety and effectiveness of Defendants’

products and are subject to the same liability to the Plaintiff for Plaintiff’s pecuniary losses, as

though Defendants had stated the non-existence of such material information regarding

Defendants’ products’ lack of safety and effectiveness and dangers and defects, and as though

Defendants had affirmatively stated the non-existence of such matters that the Plaintiff was thus

prevented from discovering the truth. Defendants therefore have liability for fraudulent

concealment under all applicable laws, including, inter alia, Restatement (Second) of Torts §550

(1977).

          178. As a proximate result of Defendants’ conduct, the Plaintiff has been injured, and

sustained severe and permanent pain, suffering, disability, impairment, loss of enjoyment of life,

comfort, and economic damages.

                                         COUNT IX
                           Breach of Express and Implied Warranties


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        179. Plaintiff hereby incorporates by reference the allegations contained in the

preceding paragraphs of this Complaint as if restated in full herein.

        180. At all times relevant hereto, Defendants manufactured, marketed, labeled, and

sold the AFFF products that have been previously alleged and described herein.

        181. At the time Defendants designed, developed, marketed, sold, labeled, and

distributed the AFFF products, Defendants knew of the use for which it was intended, and implied

and/or expressly warranted that the product was merchantable, safe, and fit for its intended

purpose.

        182. Defendants warranted that the product was merchantable and fit for the particular

purpose for which it was intended and would be reasonably safe. These warranties were breached,

and such breach proximately resulted in the injuries and damages suffered by Plaintiff.

        183. Plaintiff is within the class of foreseeable users and reasonably relied upon

Defendants' judgment, and the implied and/or express warranties in using the products.

           184. Defendants breached their implied and/or express warranties and did not meet the

expectations for the performance of the product when used for its intended use and was neither of

merchantable quality nor safe for its intended use in that the product has a propensity to cause

serious injury, pain, and cancer.

                                           COUNT X
                                           Wantonness

        185. Plaintiff hereby incorporates by reference the allegations contained in the

preceding paragraphs of this Complaint as if restated in full herein.

        186. Defendants and their employees, agents, officers, and representatives owed a duty

of care to end users of their AFFF products, including Plaintiff.

        187. Defendants breached the duty of care owed to Plaintiff.

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          188. The actions of Defendants and their employees, agents, officers, and

representatives were willful and wanton and exhibited a reckless disregard for the life, health,

and safety of the end users of Defendants’ AFFF products, including Plaintiff.

           189. As a proximate and foreseeable consequent of the actions of Defendants, Plaintiff

was exposed to unreasonably dangerous toxic PFAS containing AFFF, which caused Plaintiff’s

injury.

                                           COUNT XI
                                         Punitive Damages

           190. Plaintiff hereby incorporates by reference the allegations contained in the

preceding paragraphs of this Complaint as if restated in full herein.

          191.   Upon information and belief, Defendants engaged in willful, wanton, malicious,

and or/reckless conduct that was done without regard to the consequences or the safety of Plaintiff

and caused the foregoing injuries upon Plaintiff, disregarding his protected rights.

          192.   Defendants’ willful, wanton, malicious, and/or reckless conduct includes but is not

limited to Defendants’ failure to take all reasonable measures to ensure Plaintiff was not exposed

to PFAS which Defendants knew were linked to serious medical conditions.

          193.   Defendants have caused significant harm to Plaintiff and have demonstrated a

conscious and outrageous disregard for their safety with implied malice, warranting the imposition

of punitive damages.

                        TOLLING THE STATUTE OF LIMITATIONS
                                 Discovery Rule Tolling

          194. Plaintiff had no way of knowing about the risk of serious injury associated with the

use of and exposure to AFFF until very recently.




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        195. Within the time period of any applicable statute of limitations, Plaintiff could not

have discovered, through the exercise of reasonable diligence, that exposure to AFFF is harmful

to human health.

        196. Plaintiff did not discover and did not know of facts that would cause a reasonable

person to suspect the risk associated with the use of and exposure to AFFF; nor would a reasonable

and diligent investigation by Plaintiff have disclosed that AFFF could cause personal injury.

        197. For these reasons, all applicable statutes of limitations have been tolled by operation

of the discovery rule with respect to Plaintiff’s claims.

                                 Fraudulent Concealment Tolling

     198.        All applicable statute of limitations and statutes of repose have also been tolled by

Defendants knowing and active fraudulent concealment and denial of the facts alleged herein

throughout the time period relevant to this action.

     199.        Instead of disclosing critical safety information regarding AFFF, Defendants have

consistently and falsely represented the safety of AFFF products.

     200.        This fraudulent concealment continues through present day.

     201.        Due to this fraudulent concealment, all applicable statutes of limitations and

statutes of repose have been tolled with respect to Plaintiff’s claims.

                               Tolling Pursuant to 42 U.S.C. § 9658

     202.        Plaintiff did not know and could not have reasonably known that his personal

injuries were caused by or contributed to by the use of and exposure to AFFF until sometime within

the past year.




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     203.      The federally required commencement date for the running of the statute of

limitations begins running on the date Plaintiff knew or reasonably should have known that the

personal injury was caused or contributed to by his exposure pursuant to 42 U.S.C. § 9658.

     204.      Plaintiff did not discover and did not know of facts that would cause a reasonable

person to suspect the risk associated with the use of and exposure to AFFF; nor would a reasonable

and diligent investigation by Plaintiff have disclosed that AFFF could cause personal injury.

     205.      For these reasons, applicable state statutes of limitations have been tolled by

operation of the discovery rule pursuant to 42 U.S.C. § 9658 with respect to Plaintiff’s claims.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff requests the Court enter judgment against the Defendants on each

of the above-referenced claims as follows:

               (a)    Finding Defendants jointly, severally and solidarily liable for past,
                      present and future damages suffered by Plaintiff;

               (b)    Awarding compensatory damages in excess of the jurisdictional
                      amount, including, but not limited to pain, suffering, emotional
                      distress, loss of enjoyment of life, and other non-economic damages
                      in an amount to be determined at trial of this action;

               (c)    Awarding economic damages in the form of medical expenses, out
                      of pocket expenses, lost earnings and other economic damages in an
                      amount to be determine at trial of this action;

               (d)    Punitive and/or exemplary damages for the wanton, willful,
                      fraudulent, reckless acts of the Defendants who demonstrated a
                      complete disregard and reckless indifference for the safety and
                      welfare of the general public and to the Plaintiff in an amount
                      sufficient to punish Defendants and deter future similar conduct; an
                      order finding Defendants liable for conspiracy in the manner
                      described herein;

               (e)    Prejudgment interest;

               (f)    Postjudgment interest;



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               (g)     Awarding Plaintiffs reasonable attorneys’ fees when applicable;

               (h)     Awarding Plaintiffs the costs of these proceedings; and

               (i)     Such other and further relief as this Court deems just and proper.

                                 DEMAND FOR JURY TRIAL

Plaintiff hereby demands trial by jury as to all issues.

         Dated: September 20, 2022                     Respectfully submitted,

                                                       s/ Merritt E. Cunningham
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                                                       Merritt Cunningham (LA Bar 32843)
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